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                       EXHIBIT CC
      Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 2 of 16


                                                                         2
            C‘J
            0,5Q
                                    0    (    °         7
     Itegistepeci-Ma Numb&
                                                                             From: LARRY PRESTO
 2                                                                        Near:     5709 langley stree
                                                                                houston republic texas
 3                                                               harris county united states of Americ
                                                                                         Non-Domesti
                                                                                     Rural free delive
 5                                                                   Zip-code exempt DMM 602 (1.3e

 6
                     Circa   (2      Day in        pr    201 4- in the year of our lord,
 7                                             TEXAS
                                          HARRIS COUNTY
                                   THE UNITED STATES OF AMERICA
 9
      ,preston, :Larry: ex rel. LARRY PRESTON a/k/a Security investment Account [LOAN]
10    Larry Preston (XXX-XX-XXXX)                   #7092385686
      Status living
11    Sui juris jus sanguine                        COUNTER-CLAIM TO REQUEST FOR .
      Counter-Claimant                              ADMISSIONS AND INTERROGATORIES
12                                                  AND PRODUCTION
13    vs.
                                                        DECLARATION OF CIVIL VIOLATIONS
14   NEW CENTURY MORTGAGE CORPORATION, THE AND CRIMINAL DAMAGE CLAIMS AND
     BANK OF NEW YORK MELLON F/K/A THE BANK                MOTION
15   OF NEW YORK.AS SUCCESSOR IN INTEREST TO
     JPMORGAN CHASE BANK, N.A., AS. TRUSTEE FOR ORDER
16   C-BASS MORTGAGE LOAN ASSET-BACKED

17
     CERTIFICATES, SERIES 2005-RP2, PHH
     MORTGAGE CORPORATION
                                                                          FILED
                                                                         Marilyn Burgess
18                                                                        MI3410 Clerk.
     fiduciary conservators and assignees and trustees and
     servicers and money transmitting businesses not                    • A9,.IV 0            2
19
                                                                  Time:                           7r\--
                                                                                rrrDeputi
                                                                                    omig
     "original" creditors, imposters
20

21
      Complainants
                                                                    By
                                                                                          his      oh m s

                     Greetings all and the court
22
                     I am the true living being and natural person .preston, :larry: ex relation LARRY
23

24    PRESTON (XXX-XX-XXXX) pursuant to 31 CFR § 306.11(a)(1)

25

26

27    Counter-Claim to request for admissions and interrogatories and production
     COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND   •
28   PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
     MOTIONORDER - 1


                                                                           RECORDERS MEMORANDUM
                                                                           This instrument is of poor quality
                                                                                 at the time of imaging
    Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 3 of 16




I

    It is the DEFENDANT party job and task to prove that my record is invalid and to provide

    evidence that without a shadow of a doubt attest to such, it is not my job nor task and I shall not

    provide a single record for them to examine when they are party with all the financial records

    and documentation necessary because it was/is their job to keep record of such and so their

    continued failure to provide the certified ledger or account log presenting where the funds

    originated for the loan account is proof enough that they refuse to present such because it will

    prove they are not the original creditors, instead they will bring copies of statements of accrued

    interest due to the name titled on the account which so happens to be Larry Preston and

    therefore at best their plights lead to aggravated identity theft pursuant to 18 U.S. Code § 1028

    - Aggravated identity theft



    In addition because I know without a shadow of a doubt that 1 am not the fiduciary that was

    entrusted to process and service the negotiable instrument that begot the loan account, I know I

    am not supposed to be the one to produce such records and therefore to ask such of me is a

    form of intentional entrapment knowing full well that only the DEFENDANT party and its

    members would have access and ability to provide such and because the DEFENDANT party

    and its members are supposed to have said financial records they are supposed to furnish such

    upon request and upon failure they are to dismiss their complaints, not bring the matter to a

    public business and to a third party with no interest so they can cheat me out of my property an

    my property interest, for I refuse to abandon my security and my security interest




    COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
    PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
    MOTIONORDER - 2
Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 4 of 16




       The DEFENDANTS have committed crimes pursuant to 18 U.S. Code § 1341 - Frauds

and swindles and 18 U.S. Code § 1348 - Securities and commodities fraud in regards to the

uncertified copies of financial information pursuant to 18 U.S. Code § 1350 - Failure of corporat

officers to certify financial reports and statements generally pursuant to 18 U.S. Code § 1001 -

Statements or entries generally as contrivances have been delivered to my private house askin

several questions about the lien I have filed and executed but have failed to respond yet

demand I respond, they are already in default which is why I filed the lien, I took a very common

sense approach to handling this matter and therefore I am confused as to why the

DEFENDANTS think a bunch of degrees and certifications and questions can over turn the plain

fact that they are in default and I filed a lien against them with an amount and an order and what

to do as relief to remedy and so as it stands the DEFENDANTS hired some private men to act

on their behalf to perform due process to feign a lawful and valid due process proceeding

however I shalt allow it and all parties involved are put on notice that I will file IRS form 14039

against each of you all in relation to the personal property and real property separately



       it has come to my attention that a public business has taken it upon itself to make itself a

party to the security interest held in my account 7092385686, and it has come to my attention

that it is aware that the DEFENDANT party so complaining has entered proof of receipt of

several questions and claims that have been ignored and even a notice of default judgement

and default judgment as well as notice of lien and then yes the subsequent lien,



       I will be clear, unless DEFENDANT party can present actual facts with actual real

certified records, everything they present is moot at best and only a means to avoid answering

my questions they already are in default and yes we all are aware the DEFENDANTS are well

COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
MOTIONORDER - 3
     Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 5 of 16




 1   beyond default having failed to respond on several occasions resulting in a default judgement
 2   and lien,
 3

 4
             without a shadow of a doubt I am the true living being preston, tarry ex rel. LARRY
 5
     PRESTON that is the original applicant pursuant to 15 U.S. Code § 1691a(b) and 15 U.S. Code
 6
     § 1602(g) and 15 U.S. Code § 1691a(e) whom executed a lien and filed it on the federal county
 7
     record presenting all evidence and claims and the like that have gone wholly ignored
 8

 9

10          without a shadow of a doubt the DEFENDANTS have presented for all and the court to

11   clearly see that they have been in receipt of every record and have not answered a single

12   question yet wish to attempt to have my lien claim removed through a bogus sham courtroom
13   proceeding, sending bogus paperwork with the means to attempt to execute a lawful due
14
     process appearance knowing full well there is without a shadow of a doubt not any way for them
15
     the DEFEDANTS to ever prove that they the DEENDANT are the original the creditors as
16
     opposed to assignee creditors under Larry Preston (XXX-XX-XXXX) pursuant to 15 U.S. Code §
17
     1691a(b) and 15 U.S. Code § 1602(g) and 15 U.S. Code § 1691a(e)
18

19
            in order to prove it unequivocally for all and the court to accept unequivocally,
20
     DEFENDANT party must present a valid certified copy of the ledger and or accounting records
21

22   presenting the exact time and date and account all the credits have been originally issued,

23   failure to do so is a direct violation of 18 U.S. Code 1850 and because the entire case is

24   centered around this record that only you the DEFENDANT party are able to produce, a lack of
25   ability or a lack to the produce thereof is an admission of guilt with no further need to continue
26
     any further public court matters involving my private affairs
27
     COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28   PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
     MOTIONORDER - 4
Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 6 of 16




         without a shadow of a doubt I know the DEFENDANT party without regard to whichever

legal institution or business they may so employ cannot produce a single lawful valid certified

record presenting to all and the court that the credits and or finances used to purchase my

private property had originally come from any one of them



                  without a shadow of a doubt the DEFENDANTS are most definitely attempting

racketeering for I know



         without a shadow of a doubt I am preston, larry ex rel LARRY PRESTON acting as consumer and

consumers are natural persons pursuant to 16 CFR § 433.1



         without a shadow of a doubt I am preston, larry ex rel LARRY PRESTON acting as obligor and

the obligor is the applicant pursuant to 15 U.S. Code § 1691a(b)



         without a shadow of a doubt I am preston, larry ex rel. LARRY PRESTON the obligor and the

original creditor pursuant to 15 U.S. Code § 1602(g) and 15 U.S. Code § 1691a(e) for the consumer and

the account for the consumer



         without a shadow of a doubt Pursuant to 15 U.S. Code § 1691a(e) clause3 and U.C.C. § 1-201

(13) the creditors of the original creditor are assignees of the original creditor for the benefit of the original

creditor of the account for the benefit of the consumer



        without a shadow of a doubt according to the prior statement, all of the defendants are assignees

for my benefit, this is the law.



COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
MOTIONORDER - 5
Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 7 of 16




        without a shadow of a doubt the account in controversy is my right to payment of the monetary

obligation for the property sold or leased or licensed or assigned or otherwise disposed of for services

rendered or services to be rendered pursuant to U.C.C. § 9-102



        without a shadow of a doubt the creditors as assignees are consumer reporting agencies

pursuant to 15 U.S. Code § 1681a(f)



        without a shadow of a doubt the assignee as a consumer reporting agency is acting as and is a

debt collector as pursuant to 15 U.S. Code § 1692a(6)



        without a shadow of a doubt the assignees are servicer holders for the original creditor servicing

the loan held in the account as security interest of the consumer and obligor pursuant to 12 U.S. Code §

2605(i)(2) and 12 U.S. Code § 2605(i)(3)



        without a shadow of a doubt the assignees as creditors and servicers and holders of the security

interest in the account entitled to the consumer are money transmitting business(es) pursuant to 31 U.S.

Code § 5330(d)(1)



        without a shadow of a doubt the security interests that are the credit balances in excess of $1

held in each reported account is entitled to the consumer as security interest held for the benefit of the

obligor as pursuant to 15 U.S. Code § 1666d



        without a shadow of a doubt the DEFENDANTS violated the Fair Credit Billing Act and Fair Debt

Collection Practices Act and the Fair Credit Reporting Act and the Fourth and Fifth Amendments of the

Bill of rights of the Constitution for the United States of America which has been expressed already and I

shall not repeat myself just because the DEFENDANTS request it, their request are all totally refused unti


COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
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MOTIONORDER - 6
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      they can answer my questions otherwise their lack of rebuttal serves as injunction without need to further

 2   press the matter.



 4   without a shadow of a doubt this entire public business meeting is only a ruse, to feign due process in

 5   order to commit land theft and property theft and grand theft having totally failed to respond to anything

 6   other than evidence of refusal to accept payment as a means to stop the DEFENDANT party's

 7   harassment for additional funds when I know without a shadow of a doubt the account is settled and I am

 8   owed the balance held in the account for my consumption to help upkeep my real property that I have yet

 9   to have access to and my real property is always in need of repairs therefore deeming the DEFENDANT

10   party as irresponsible custodians and servicers of money and instruments being mis-appropriators at best

11
     I .preston, :larry: ex rel. LARRY PRESTON declare by the Laws of the United States of America
12
     under the penalty of perjury that the foregoing is true and correct. April             (.9            2022
13

14                                     Affirmed, with        'ce, a         all right rved,
15
                                                                 .preston, :larry: ex. rel. LARRY PRESTON
16
                                                                                        Sui juris jus sanguine
17
                                                                                        Counter-Claimant
18

19
                                              Certificate of Service
20
     I .preston, :larry: ex rel. LARRY PRESTON declare by the Laws of the United States of America
21   under the penalty of perjury that the foregoing is true and correct. April             tO             2022
22

23
     Af
      f:ir Tcrud   ith pr   tc     d          idhts reserved,
24

25
           r
     .preston, Yry: ex. rel. LARRY PRESTON
26   Sui juris jus sanguine
     Counter-Claimant
27
     COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28   PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
     MOTIONORDER - 7
         Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 9 of 16




     1

 2

 3

 4                                                      NOTICE
                        Using a notary on this document does not constitute any adhesion, nor does it
 5       alter my status in any manner. The purpose for notarization is verification and identification only
         and not for entrance into any foreign jurisdiction.
 6

 7
                                                     ACKNOWLEDGEMENT

 8                      As a Notary Public for said County and State, I do hereby certify that on this
                     day of April 2022, that .preston, :larry: ex. rel. LARRY PRESTON, the above-
 9       mentioned, specially visited before me executing and authorized the foregoing. Witness my
         hand and seal:
10

11

12
         NOTARY PUBLIC

13       My Commission Expires: 5 ' 1c) '

14
         Notary Signature:
15

16

17

18

19

20

21

22

23

24

25

26

27
         COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28       PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
         MOTIONORDER - 8
           Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 10 of 16




       1

      2

      3

      4
                               Declaration of Civil Violations and Criminal Damage Claims and Motion:
   5

   6       Declare civil violation and criminal damage claims against each member of the DEFENDANT party being

   7       an assignee and creditor, being a servicer of the original creditor, operating as a money transmitting

   8       business, acting as consumer reporting agency and debt collector and motion compensatory damage

   9       remedy pursuant to the following violations and charges:

  10

  11       U.S. Code Title 18. CRIMES AND CRIMINAL PROCEDURE Part I. CRIMES

  12                Charge

  13

  14       § 242. Deprivation of rights under color of law                                                    $2000

  15       § 245. Federally protected activities                                                              $2000

  16       § 246. Deprivation of relief benefits                                                              $10000

  17       § 641 - Public money, property or records

  18               $10000

  19       § 642. Tools and materials for counterfeiting purposes                                             $10000

  20       § 643. Accounting generally for public money                                                       $10000

 21        § 644. Banker receiving unauthorized deposit of public money                                       $10000

 22        § 648. Custodians, generally, misusing public funds                                                $10000

 23        § 649. Custodians failing to deposit moneys; persons affected                                      $10000

 24        § 650. Depositaries failing to safeguard deposits                                                  $10000

 25        § 651. Disbursing officer falsely certifying full payment                                          $10000

• 26       § 652. Disbursing officer paying lesser in lieu of lawful amount                                   $10000

 27        § 653. Disbursing officer misusing public funds                                                    $10000
           COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
 28        PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
           MOTIONORDER - 9
     Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 11 of 16




 1   § 654, Officer or employee of United States converting property of another

 2           $10000

 3   § 654. Officer or employee of United States converting property of another

 4           $10000

 5   § 656. Theft, embezzlement, or misapplication by bank officer or employee

 6           $10000

 7   § 657. Lending, credit and insurance institutions                                                $10000

 8   § 661. Within special maritime and territorial jurisdiction                                      $10000

 9   § 662. Receiving stolen property within special maritime and territorial jurisdiction            $10000

10   § 666. Theft or bribery concerning programs receiving Federal funds                              $10000

11   § 1344. Bank fraud

12   $1000000

13   § 1348. Securities and commodities fraud

14   $1000000

15   § 1349. Attempt and conspiracy

16   $1000000

17   § 1962. Prohibited activities

18   $1000000

19

20

21   U.S. Code Title 15. COMMERCE AND TRADE                                                     Charge

22

23   § 77e. Prohibitions relating to interstate commerce and the mails                       $10000

24   § 77fff - Securities not registered under Securities Act                                $10000

25   § 77k - Civil liabilities on account of false registration statement                    $10000

26   § 77oliability of controlling persons                                                   $10000

27   § 77q - Fraudulent interstate transactions                                $10000
     COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28   PRODUCI'IONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
     MOTIONORDER - 10
Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 12 of 16




§ 77w.Unlawful representations                                                        $10000

§ 77z-2a - Conflicts of interest relating to certain securitizations                  $10000

§ 771- Civil liabilities arising in connection with prospectuses and communications            $10000

§ 77kkk - Preferential collection of claims against obligor                           $10000

§ 77000 - Duties and responsibility of the trustee                                    $10000

§ 78t. Liability of controlling persons and persons who aid and abet violations       $10000

§ 78o-8. Universal ratings symbols                                                    $10000

§ 78o-9. Study and rulemaking on assigned credit ratings                                       $10000

§ 78o-10. Registration and regulation of security-based swap dealers and major security-based swap

participants                                                                          $10000

§ 78o-11. Credit risk retention                                                       $10000

§ 78t-1. Liability to contemporaneous traders for insider trading                     $10000

§ 78r. Liability for misleading statements                                            $10000

§ 1681b. Permissible purposes of consumer reports                                     $1000

§ 1681n. Civil liability for willful noncompliance                                    $1000

§ 1681o. Civil liability for negligent noncompliance                                  $1000



Total Charge:                                                                         $ 4356000

Total Fee:                                                                            $4356000


Originally I had the charge at three hundred thousand being forgiving however since I have
chosen to more thoroughly express the amount of charges and violations with added violations
and charges to wit, remember none of the DEFENDANT party members can produce a single
record proving any funds originated from them and therefore all charges are automatically
weighing against each DEFENDANT party member for none can produce the record and none
have, copies are inadmissible evidence for they lack certification attesting being real and a "real
true copy" is not a certified copy of the finalized and executed negotiable instrument after all
processing had been complete


I .preston, :larry: ex rel. LARRY PRESTON declare by the Laws of the United States of America

COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
MOTIONORDER - 11
     Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 13 of 16




 1    under the penalty of perjury that the foregoing is true and correct. April                       2022
 2
                                     Affirmed, w       }u ce         ith all ri    reserved,
 3

 4
                                                               .preston, :larry: ex. rel. LARRY PRESTON
 5                                                                                  Sui juris jus sanguine

 6                                                                                  Counter-Claimant

 7

 8

 9

10

11
                                            Certificate of Service
12
     I .preston, :larry: ex rel. LARRY PRESTON declare by the Laws of the United States of America
13   under the penalty of perjury that the foregoing is true and correct. April       6                2022
14

15
     Affirm           rejudi            al
                                    withms reserved,
16

17
     .preston, :lar   ex. rel. LARRY PRESTON
18   Sui juris jus sanguine
     Counter-Claimant
19

20

21                                                  NOTICE
                    Using a notary on this document does not constitute any adhesion, nor does it
22   alter my status in any manner. The purpose for notarization is verification and identification only
     and not for entrance into any foreign jurisdiction.
23

24                                                 ACKNOWLEDGEMENT

25                 As a Notary Public for said County and State, I do hereby certify that on this
          (o     day of April 2022, that .preston, :larry: ex. rel. LARRY PRESTON, the above-
26   mentioned, specially visited before me executing and authorized the foregoing. Witness my
     hand and seal:
27
     COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28   PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
     MOTIONORDER - 12
         Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 14 of 16




     2   NOTARY PUBLIC
     3
         My Commission Expires:
     4

     5   Notary Signature:

     6

     7

     8

     9

    10

    11                                                Order
    12
         I.     DEFENDANT party and members are hereby ordered to pay fines for all charges
    13
                for civil liabilities and criminal damages amounting to $4356000 and shall make
    14

    15          payment as compensation for fines and damages and penalties tendered as

    16          United States dollars
    17
                This Order and the foregoing documentation shall be added to the current lien
    18
                deeming all current person liable for the payment as compensation and remedy
    19

•   20

    21   Ill.   DEFENDANT party may deliberate amongst themselves on how they wish to

    22          divide the total payment and then furnish such to plaintiff for tax filing execution,
    23
                else plaintiff will execute at his own will or
    24

    25

    26

    27
         COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INI'1          AND
    28   PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
         MOTIONORDER - 13
         Case 4:22-cv-01460 Document 1-29 Filed on 05/06/22 in TXSD Page 15 of 16




     1   IV.     DEFENDANT party may deliver payments in increments of $95000 US Dollars
     2
                 every thirty calendar days to the following address beginning the thirtieth day
     3
                 upon day of receipt until invoice fully satisfied:
     4

 5

 6               LARRY PRESTON

 7               near 13222 along elaine street
 8
                 houston republic texas [77047]
 9
                 harris county united states of America
10
                 rural free delivery
11

12
         V.     Stand Down any and all further trespass against the private estate and
13              compensate the estate all security interest for using the private estate informatio
                in the public for profit
14

15       VI.    Injunction order against any and all use of personal in violation of or not in
                compliance with the standards so set forth therein 18 U.S. Code § 2386 -
16              Registration of certain organizations
17

18       1 .preston, :larry: ex rel. LARRY PRESTON declare by the Laws of the United States of America
19       under the penalty of perjury that the foregoing is true and correct. April                      2022
20
                                               Affirmed,yv 1b prejudice, and with all rights reserved,
21

22

23                                                               .preston, :larry: ex. rel. LARRY PRESTON
24                                                                a 674                pidij ris jus sanguine
                                                        3                             Counter-Claimant
25
                                                      H3)1)      rsi-    720(0
26
                                               Certificate of Service
27
         COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28       PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
         MOTIONORDER - 14
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     I .preston, :tarry: ex rel. LARRY PRESTON declare by the Laws of the United States of America
     under the penalty of perjury that the foregoing is true and correct. April             2022




     Affir                       d ith         ts reserved,


     .preston, :I rry: ex. rel. LARRY PRESTON
     Sui juris jus sanguine
 8   Counter-Claimant
 9

10

11

12                                                  NOTICE
                    Using a notary on this document does not constitute any adhesion, nor does it
13   alter my status in any manner. The purpose for notarization is verification and identification only
     and not for entrance into any foreign jurisdiction.
14
                                                 ACKNOWLEDGEMENT
15

16                 As a Notary Public for said County and State, I do hereby certify that on this
                 day of April 2022, that .preston, :larry: ex. rel. LARRY PRESTON, the above-
17   mentioned, specially visited before me executing and authorized the foregoing. Witness my
     hand and seal:
18

19
     NOTARY PUBLIC
20

21   My Commission Expires:      5-r8         a6 a5
22
     Notary Signature:
23

24

25

26

27
     COUNTER-CLAIM TO REQUEST FOR ADMISSIONS AND INTERROGATORIES AND
28   PRODUCTIONDECLARATION OF CIVIL VIOLATIONS AND CRIMINAL DAMAGE CLAIMS AND
     MOTIONORDER - 15
